        Case 1:13-cv-01053-RCL Document 339-5 Filed 07/24/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 BERKLEY INSURANCE, CO., et al.,

                Plaintiffs,

        v.                                      Case No. 1:13-cv-1053 (RCL)

 FEDERAL HOUSING FINANCE
 AGENCY, et al.,

                Defendants.


 In re Fannie Mae/Freddie Mac Senior
 Preferred Stock Purchase Agreement Class
 Action Litigations

 __________________                             Case No. 1:13-mc-1288 (RCL)

 This document relates to:
 ALL CASES



                                     [PROPOSED] ORDER
       Upon consideration of Defendants’ Motion in Limine to Admit Enterprise SEC Filings

(“Defendants’ Motion”), and Plaintiffs’ opposition thereto, it is hereby:

       ORDERED that the Defendants’ Motion is GRANTED. The following SEC filings are

admitted: DX102, DX103, DX136, DX137, DX158, DX159, DX175, DX176, DX188, DX189,

DX212, DX213, DX226, DX227, DX237, DX238, DX252, DX253, DX275, DX276, DX297,

DX298, DX327, DX328, DX341, DX342, DX367, DX369, DX420, DX421, DX476, DX477,

DX576, DX577, DX597, DX598, DX642, DX645, DX663, DX664, DX674, DX675.


Dated: __________________                                    _______________________
                                                             ROYCE C. LAMBERTH
                                                             United States District Judge
